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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-00645
      Professional Fee Matters Concerning the Jackson Walker Law Firm
      Part 1 - Jackson Walker LLP's Expedited Motion to Compel Production of
      Documents and Responses to Interrogatories from the U.S. Trustee-Doc.
      [280]; Non-Evidentiary Status Conference-Doc. [301].



      Case Type :                    mp
      Case Number :                  2023-00645
      Case Title :                   Professional Fee Matters Concerning the Jackson Walker Law Firm

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